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                        DECLARATION OF ANN OWEN
   1. My name is Ann Owen. I am of legal age and competent to give this

declaration. All information herein is based on my own personal knowledge unless

otherwise indicated.

   2. I currently live with my husband in Little Rock, Arkansas in the LEED

Platinum Certified house we built together. We’ve been here for 17 years and have

no plans to move. I also have children and grandchildren that live close by.

   3. I am an active member of Sierra Club and originally joined in South

Carolina back in the late 1980s after attending college in Alabama. My husband

and I have had a joint lifetime membership for about 16 years now.

   4. I became a member of Sierra Club because I truly care about protecting the

environment. I grew up in the South and was always passionate about nature and

conserving natural resources. I got firsthand experience with nature and

preservation of outdoor spaces in high school when I worked for a youth

conservation program in Alabama. With that group, I did a lot of important outdoor

activities like building trails and trail shelters and protecting woodpecker habitats.

My connection to the environment from a young age solidified my feelings that

individuals can make an impact. I am an Arkansas Master Naturalist now. I love

the outdoors.




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   5. When I was a member of the South Carolina Chapter of Sierra Club, I was

the editor of the newsletter for a couple years and have volunteered for various

committees. I have never been a paid employee of Sierra Club.

   6. I am currently the sustainability chair at my church and am involved in

environmental stewardship activities. Before retiring, I most recently worked as the

site coordinator for the Presbyterian Church (USA) Young Adult Volunteer

program in Little Rock.

   7. I have also been actively involved in advocacy work and voicing my

concerns about pollution, its harms to the environment and public health. In 2009, I

traveled via bus with a group of Sierra Club members to a public hearing near

White Bluff Power Plant to give public statements regarding our concern for

pollution at the plant. In 2015, I gave public testimony at an EPA public hearing

hosted by the Arkansas Department of Environmental Quality regarding the issue

of regional haze. I have long been troubled by the immediate and far-reaching

impacts of air pollution in my area.

   8. I live about 30 miles from the White Bluff Power Plant. I pass by the plant

occasionally when driving south and have seen it in the past month. The plant can

be viewed from the highway, and I have observed the opaque, dense smoke that

comes out of the stacks. Because I have known about the plant and the pollution it

emits for a long time, I am generally concerned for my own heath and the health of

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my community, but seeing the actual emissions increases my concern. I think

about how widespread the impacts of pollution are.

   9. I am also particularly concerned about mercury pollution that I understand is

a pollutant in coal-fired power plant emissions. I spend time in local waterways,

streams, rivers, and lakes. I enjoy kayaking and canoeing with my family. I used to

teach fishing, other water-based activities, and environmental education when I

worked with the Arkansas Game and Fish Commission, and at the C.A. Vines

Arkansas 4-H Center. I understand that mercury pollution makes its way into our

rivers and streams and I am concerned about the water pollution’s impact on

aquatic life and the rest of the food chain. In an attempt to avoid potential negative

health impacts of mercury pollution, among other reasons, my whole family and I

have decided to eat a plant-based diet. We have been vegetarian for 10 years now.

   10. I see haze in Little Rock. I notice it throughout the year, but especially

during the summer every year. Haze looks light grayish, brownish, and opaque—

it’s the opposite of clear.

   11. I spend a lot of time outside. I enjoy gardening, hiking, and walking, but

also plan to start biking more. Outdoor areas that I spend time in include Pinnacle

Mountain State Park, Petit Jean State Park, and Allsopp Park, all of which are close

to my home and have beautiful hiking and walking trails. Exercising outside is

how I like to be active. I encounter wildflowers and little creatures on hikes. I love

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getting up close and personal with nature. On days that are particularly hazy, it

detracts from the aesthetics of our community and there are days that my husband

and I spend less time outside because of the bad air quality.

   12. Allsopp Park is closest to my home. It’s a city park with several different

trail areas, picnic tables, and tennis courts, and a forest runs through the area. I like

to hike and do single track mountain biking on the trails there. Sometimes, when

hiking there, I find my lungs and eyes burning. The smog seems to have an adverse

impact on my health though I am spending time at the park to improve my health

through exercise.

   13. I also love hiking in Pinnacle MountainState Park. I have personal and

professional investment in the park because years ago as an AmeriCorps volunteer,

I helped build trails there. We finished the Base Trail in the park, which is now

very popular. I feel pride hiking in on the trails in Pinnacle and am saddened when

I observe smoggy views along the trail there.

   14. Recently, my son and I backpacked the Ouachita Trail, about 223 miles,

which we broke up into two sections. The trip made me feel connected to nature

and to my son, as we hiked daily and carried everything we needed on our backs.

My son is about to backpack the Ozark Highlands Trail, which runs along the

Buffalo National River, and I plan to go with him in the future.




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   15. Seeing smog decreases my enjoyment of the time I spend outside hiking and

walking. It also makes me concerned for my health and the health of my family.

Having children changed the way I look at environmental issues and public health

issues. Now I have grandchildren, and my feelings of needing to protect them by

protecting the environment have strengthened even more. I believe strongly that

we have to take care of our planet.


Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing
is true and correct to the best of my knowledge and belief.


Dated: April 28, 2020




                                      _______________________
                                      Ann Owen




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